           Case 2:07-cr-00126-WBS Document 34 Filed 06/08/07 Page 1 of 2


     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     1710 Broadway, #111
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)731-4841
     Email: Rusklaw@aol.com
 4

 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                      ) Case No.: CR.S. 07-126 EJG
     United States of America,          )
 9                                      ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,              ) STATUS CONFERENCE
10                                      )
          vs.                           ) Court: Hon. Judge Edward J.
11                                      ) Garcia
                                        ) Time:   10:00 a.m.
12   Alice Petersen, et.al.             ) Date:   July 20, 2007
                                        )
13              Defendants
14

15

16        Defendants Alice Petersen, Jamal Gill and Javon Gill are charged
17   in an indictment alleging five counts of violations of 21 U.S.C. §§s
18   841(a)(1) – Distribution and Conspiracy to Distribute Cocaine Base;
19   Possession of Cocaine Base with Intent to Distribute; and Maintaining
20   a Place in violation of 21 U.S.C. § 856(a)(1).   A status conference
21   was previously set for June 8, 2007.     The parties are involved in
22   defense investigation, as well as negotiations and all parties request
23   that the current status conference be continued to June 29, 2007, if
24   that date is available with the Court.
25        The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
27

28




                                        -1-
           Case 2:07-cr-00126-WBS Document 34 Filed 06/08/07 Page 2 of 2


     Dated: June 6, 2007              Respectfully submitted,
 1

 2

 3                                    __/s/ Shari Rusk___
                                      Shari Rusk
 4                                    Attorney for Defendant
                                      Javon Gill
 5

 6                                    /s/ Ned Smock
                                      Ned Smock
 7                                    Attorney for Defendant
                                      Jamal Gill
 8

 9
                                       /s/ Candace Fry
10                                    Candace Fry
                                      Attorney for Defendant
11                                    Alice Petersen

12

13
     Dated: June 6, 2007        ___ Jill Thomas________
14
                                /s/ Jill Thomas
                                Assistant United States Attorney
15

16

17
                                      ORDER
18

19
          IT IS SO ORDERED.   The Court finds excludable time through June
20
     29, 2007, based on Local Code T4, giving counsel reasonable time to
21
     prepare.
22
     DATED: June 7, 2007
23
                                      /s/ Edward J. Garcia
24                                    Hon. Edward J. Garcia
                                      United States District Court
25

26

27

28




                                        -2-
